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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

 PATRICIA E. ABU GHAZALEH, Derivatively              )
 on Behalf of Nominal Defendant GENEDX               )
 HOLDINGS CORP., formerly SEMA4                      )
 HOLDINGS CORP.,                                     ) Case No. ______________
                                                     )
                   Plaintiff,                        ) JURY TRIAL DEMANDED
                                                     )
       v.                                            )
                                                     )
 ERIC SCHADT, KATHERINE STUELAND,                    )
 ISAAC RO, RICHARD MIAO, JASON RYAN,                 )
 ELI D. CASDIN, EMILY LEPROUST, KEITH                )
 MEISTER, JOSHUA RUCH, RACHEL                        )
 SHERMAN, NAT TURNER, DENNIS                         )
 CHARNEY, and MICHAEL PELLINI,                       )
                                                     )
                   Defendants,                       )
                                                     )
       and                                           )
                                                     )
 GENEDX HOLDINGS CORP., formerly                     )
 SEMA4 HOLDINGS CORP.,                               )
                                                     )
                   Nominal Defendant.                )
                                                     )

                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       Plaintiff Patricia E. Abu Ghazaleh (“Plaintiff”), by and through her undersigned attorneys,

brings this derivative complaint for the benefit of nominal defendant GeneDx Holdings Corp.,

formerly Sema4 Holdings Corp. (“Sema4,” “GeneDx,” or the “Company”), against certain of its

current and former executive officers and members of the Company’s Board of Directors (the

“Board”) for breaches of fiduciary duties, unjust enrichment, waste of corporate assets, and violations

of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff alleges the

following based upon personal knowledge as to herself and her own acts, and information and belief

as to all other matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s

attorneys, which included, among other things, review of Defendants’ publicly available documents,
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conference call transcripts and announcements made by Defendants, United States Securities and

Exchange Commission (“SEC”) filings, press releases published by and regarding Sema4, legal

filings, news reports, securities analysts’ reports about the Company, and other publicly available

information.

                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action brought on behalf of Sema4 against certain

current and former officers and members of the Company’s Board (collectively, the “Individual

Defendants”) (defined below) for, among other things, breaching their fiduciary duties to the

Company and its stockholders by intentionally or recklessly making or permitting the dissemination

of false and misleading statements and omissions between March 14, 2022 and August 15, 2022 (the

“Relevant Period”) regarding the Company’s business prospects.

       2.      Sema4 is a health company that uses artificial intelligence (“AI”) to enable

personalized medicine. The Company’s platform leverages longitudinal patient data, AI-driven

predictive modeling, and genomics in combination with other data to deliver better outcomes for

patients. Sema4 derives the majority of its revenue from its Women’s Health and Oncology

diagnostic solutions. Specifically, Women’s Health solutions include carrier screening, non-invasive

prenatal testing, and newborn screening, while oncology solutions include hereditary cancer testing,

molecular profiling, and genomic data collection.

       3.      During the Relevant Period, the Individual Defendants made or caused the Company

to make numerous inaccurate representations. For instance, the Individual Defendants consistently

touted the Company’s test volumes and positively represented increases in payors or reimbursements

that the Company received. The Individual Defendants also claimed that the Company experienced

improvements in revenue and average selling prices of tests (“ASPs”). Further, the Individual

Defendants claimed the Company’s Women’s Health Division was strengthening and that the

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Company’s data platform, Centrellis, was strong and viable for potential growth.

       4.      The truth regarding Individual Defendants’ misrepresentations was revealed on

August 15, 2022, when, after the market closed, Sema4 announced changes to its research and

development leadership team, including that defendant Eric Schadt was stepping down from his roles

as President and Chief Research and Development (“R&D”) Officer. The Company also disclosed

that it was eliminating approximately 13% of its workforce as part of a series of restructuring and

corporate realignments and that the Company was also eliminating its somatic oncology testing

business. During the related conference call, Sema4 revealed that it had “reversed $30.1 million of

revenue this quarter related to prior periods,” in connection with negotiations with “one of [Sema4’s]

larger commercial payors regarding the potential recoupment of payments for Sema4 carrier

screening services rendered from 2018 to early 2022.”

       5.      On this news, Sema4’s stock fell $0.80, or 33.3%, to close at $1.60 per share on

August 16, 2022. As a result of the Individual Defendants’ improper statements, the Company is now

facing a securities class action on behalf of aggrieved investors in the United States District Court

for the District of Connecticut, captioned Helo v. Sema4 Holdings Corp. et al, Case No. 3:22-cv-

01131-JBA (D. Conn.) (the “Securities Action”). The Securities Action has exposed the Company to

enormous class-action liability.

       6.      As set forth herein, the Individual Defendants breached their fiduciary duties by

issuing, causing the issuance of, and/or failing to correct the materially false and misleading

statements and omissions of material fact to the investing public about the Company’s business

prospects, particularly with respect to Women’s Health and Centrellis. Additionally, in breach of

their fiduciary duties, the Individual Defendants caused the Company to fail to maintain adequate

internal controls.

       7.      In light of the Individual Defendants’ misconduct—which has given rise to liability

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in the Securities Action and the Company’s expenditure of time and resources defending itself, the

need to undertake internal investigations, the need to implement adequate internal controls over its

financial reporting, losses from the waste of corporate assets, and losses due to the unjust enrichment

of the Individual Defendants who were improperly overcompensated by the Company and/or who

benefitted from the wrongdoing alleged herein—the Company will have to expend millions of

dollars.

           8.    Moreover, in light of the breaches of fiduciary duty engaged in by the Individual

Defendants, most of whom are the Company’s current directors, their collective engagement in fraud,

the substantial likelihood of the directors’ liability in this derivative action and Defendants’ liability

in the Securities Action, their being beholden to each other, and their longstanding business and

personal relationships with each other, a majority of Sema4’s Board lack the requisite

disinterestedness and independence to consider a demand to commence litigation against themselves

and the other Individual Defendants on behalf of the Company in the valid exercise of business

judgment. Accordingly, Plaintiff did not make a demand on the Board because, as further detailed

herein, demand would be a futile and useless act.

                                   JURISDICTION AND VENUE

           9.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and Section

27 of the Securities Exchange Act of 1934 (the “Exchange Act”) over the claims asserted herein for

violations of sections 10(b) of the Exchange Act and Rule 10b-5 (17 C.F.R.§240.10b-5) promulgated

thereunder by the SEC.

           10.   There are additional grounds for federal jurisdiction based on diversity of citizenship

by the parties pursuant to 28 U.S.C. § 1332. The amount in controversy exceeds $75,000.

           11.   This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to

28 U.S.C. § 1367(a).

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       12.     This action is not a collusive action designed to confer jurisdiction on a court of the

United States that it would not otherwise have.

       13.     In connection with the acts, conduct and other wrongs complained of herein,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce, the

United States mail, and the facilities of a national securities market.

       14.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

Nominal Defendant Sema4 is incorporated in this District and conducts business in this District.

                                              PARTIES

Plaintiff

       15.     Plaintiff is and, since July 2021, has been a continuous shareholder of Sema4 common

stock. Plaintiff is a citizen of Nevada.

Nominal Defendant

       16.     Nominal Defendant Sema4 is incorporated under the laws of Delaware with its

principal executive offices located in Stamford, Connecticut. Sema4’s Class A common stock

previously traded on the NASDAQ exchange under the symbol “SMFR.” GeneDx’s common stock

trades on the NASDAQ exchange under the symbol “WGS.” Nominal Defendant Sema4 is a citizen

of Delaware and Connecticut.

Individual Defendants

       17.     Defendant Eric Schadt is the founder of Sema4 and served as its Chief Executive

Officer (“CEO”) until May 2022. Defendant Schadt received $3,161,612 in compensation from the

Company in 2022.       Defendant Schadt is named as a defendant in the Securities Action. Defendant

Schadt is a citizen of New York.

       18.     Defendant Katherine Stueland has served as the Company’s CEO since May 2022.

Prior to the Company’s acquisition of GeneDx, she was the President and CEO of GeneDx.

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Defendant Stueland received $11,882,354 in compensation from the Company in 2022. Defendant

Stueland is named as defendant in the Securities Action. Defendant Stueland is a citizen of New

York.

        19.    Defendant Isaac Ro was Sema4’s Chief Financial Officer (“CFO”) from July 2021 to

June 14, 2022. Defendant Ro is named as a defendant in the Securities Action. Defendant Ro is a

citizen of Connecticut.

        20.    Defendant Richard Miao served as Sema4’s Interim CFO from June 14, 2022 to

September 2, 2022. Defendant Miao is named as a defendant in the Securities Action. Defendant

Miao is a citizen of New York.

        21.    Defendant Jason Ryan is Executive Chair of Sema4’s Board of Directors and has

served as a director since July 2021. Defendant Ryan received $3,193,461 in compensation from the

Company in 2022. Defendant Ryan is a citizen of Massachusetts.

        22.    Defendant Eli D. Casdin has served as a director since July 2021. Defendant Casdin

received $262,221 in compensation from the Company in 2022. Defendant Casdin is a citizen of New

York.

        23.    Defendant Emily Leproust has served as a director since July 2021. Defendant

Leproust received $262,846 in compensation from the Company in 2022. Defendant Leprous is a

citizen of Montana.

        24.    Defendant Keith Meister has served as a director since January 2022. Defendant

Meister received $272,846 in compensation from the Company in 2022. Defendant Meister is a

citizen of New York.

        25.    Defendant Joshua Ruch has served as a director since November 2017. Defendant

Ruch received $272,846 in compensation from the Company in 2022. Defendant Ruch is a citizen

of New York.

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       26.     Defendant Rachel Sherman served as a director from March 2020 until June 2023.

Defendant Sherman received $270,346 in compensation from the Company in 2022. Defendant

Sherman is a citizen of Maryland.

       27.     Defendant Nat Turner served as a director from July 2021 until April 2022. Defendant

Turner received $11,875 in compensation from the Company in 2022. Defendant Turner is a citizen

of New York.

       28.     Defendant Dennis Charney served as a director from June 2017 until June 2023.

Defendant Charney is a citizen of New York.

       29.     Defendant Michael Pellini served as a director from August 2019 until February 2023.

Defendant Pellini received $252,846 in compensation in 2022. Defendant Pellini is a citizen of

California.

       30.     Defendants referenced in paragraphs 21 through 29 are herein referred to as the

“Director Defendants.” Defendants referenced in paragraphs 17 through 29 are collectively referred

to herein as the “Individual Defendants.” The Individual Defendants, together with Sema4, are herein

referred to as “Defendants.”

                FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       31.     By reason of their positions as officers and/or directors of Sema4, and because of their

ability to control the business and corporate affairs of Sema4, the Individual Defendants owed Sema4

and its shareholders fiduciary obligations of trust, loyalty, good faith, and due care, and were and are

required to use their utmost ability to control and manage Sema4 in a fair, just, honest, and equitable

manner. The Individual Defendants were and are required to act in furtherance of the best interests

of Sema4 and its shareholders so as to benefit all shareholders equally.

       32.     Each director and officer of the Company owes to Sema4 and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the Company and in the

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use and preservation of its property and assets and the highest obligation of fair dealing.

       33.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Sema4, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein.

       34.     To discharge their duties, the officers and directors of Sema4 were required to exercise

reasonable and prudent supervision over the management, policies, controls, and operations of the

Company.

       35.     Each Individual Defendant, by virtue of his or her position as a director and/or officer

owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good faith, and

the exercise of due care and diligence in the management and administration of the affairs of the

Company, as well as in the use and preservation of its property and assets. The conduct of the

Individual Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and/or officers of Sema4, the absence of good faith on their part, or a reckless

disregard for their duties to the Company and its shareholders that the Individual Defendants were

aware or should have been aware posed a risk of serious injury to the Company.

       36.     As senior executive officer and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the Nasdaq,

the Individual Defendants had a duty to prevent and not to allow the dissemination of inaccurate and

untruthful information with respect to the Company’s financial condition, performance, growth,

financial statements, products, management, internal controls, earnings, and present and future

business prospects, including the dissemination of false and/or materially misleading information

regarding the Company’s business, prospects, and operations, and had a duty to cause the Company

to disclose in its regulatory filings with the SEC all those facts described in this Complaint that it

failed to disclose, so that the market price of the Company’s common stock would be based upon

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truthful, accurate, and fairly presented information.

       37.     To discharge their duties, the officers and directors of Sema4 were required to exercise

reasonable and prudent supervision over the management, policies, practices, and internal controls

of the Company. By virtue of such duties, the officers and directors of Sema4 were required to,

among other things:

               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware and the United States, and pursuant

to Sema4’s own Code of Business Conduct (the “Code of Conduct”);

               (b)     conduct the affairs of the Company in an efficient, business-like manner so as

to make it possible to provide the highest quality performance of its business, to avoid wasting the

Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how Sema4 conducted its operations, and, upon receipt

of notice or information of imprudent or unsound conditions or practices, to make reasonable inquiry

in connection therewith, and to take steps to correct such conditions or practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of Sema4 and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be made of,

said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal legal,

financial, and management controls, such that Sema4’s operations would comply with all applicable

laws and Sema4’s financial statements and regulatory filings filed with the SEC and disseminated to

the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements made

by the Company’s officers and employees and any other reports or information that the Company

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was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at the

expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate disclosure

of all material facts concerning, inter alia, each of the subjects and duties set forth above.

       38.     Each of the Individual Defendants further owed to Sema4 and the shareholders the

duty of loyalty requiring that each favor Sema4’s interest and that of its shareholders over their own

while conducting the affairs of the Company and refrain from using their position, influence, or

knowledge of the affairs of the Company to gain personal advantage.

       39.     At all times relevant hereto, the Individual Defendants were the agents of each other

and of Sema4 and were at all times acting within the course and scope of such agency.

       40.     Because of their advisory, executive, managerial, and directorial positions with

Sema4, each of the Individual Defendants had access to adverse, non-public information about the

Company.

       41.     The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by Sema4.

          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       42.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with and

conspired with one another in furtherance of their wrongdoing. The Individual Defendants caused

the Company to conceal the true facts as alleged herein. The Individual Defendants further aided

and abetted and/or assisted each other in breaching their respective duties.

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       43.     The purpose and effect of the conspiracy, common enterprise, and/or common course

of conduct was, among other things, to facilitate and disguise the Individual Defendants’ violations

of law, including breaches of fiduciary duty and unjust enrichment.

       44.     The Individual Defendants accomplished their conspiracy, common enterprise, and/or

common course of conduct by causing the Company purposefully, recklessly, or negligently to

conceal material facts, fail to correct such misrepresentations, and violate applicable laws.

       45.     In furtherance of this plan, conspiracy, and course of conduct, the Individual

Defendants collectively and individually took the actions set forth herein. Because the actions

described herein occurred under the authority of the Board, each of the Individual Defendants, who

are directors of Sema4, was a direct, necessary, and substantial participant in the conspiracy, common

enterprise, and/or common course of conduct complained of herein.

       46.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with actual

or constructive knowledge of the primary wrongdoing, either took direct part in, or substantially

assisted the accomplishment of that wrongdoing, and was or should have been aware of his or her

overall contribution to and furtherance of the wrongdoing.

       47.     At all times relevant hereto, each of the Individual Defendants was the agent of each

of the other Defendants and of Sema4 and at all times acted within the course and scope of such

agency.

                                 SEMA4’S CODE OF CONDUCT

       48.     Sema4’s Code of Conduct, titled “Code of Business Conduct,” applies to all directors,

employees, and contractors of the Company.

       49.      In a section titled, “SEC Reporting and Financial Statement Preparation,” the Code

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of Conduct provides:

       Our periodic reports and other documents filed with the SEC, including all financial
       statements and other financial information, must comply with applicable federal
       securities laws and SEC rules. If you contribute in any way to the preparation or
       verification of our financial statements and other financial information, you must
       ensure that our books, records and accounts are accurately maintained. You must also
       cooperate fully with our finance department, as well as our independent public
       accountants and counsel. If you are involved in the preparation of our SEC reports or
       financial statements, you must:

       • Be familiar with and comply with our disclosure controls and procedures and our
       internal control over financial reporting.

       • Take all necessary steps to ensure that all filings with the SEC and all other public
       communications about our financial and business condition provide full, fair,
       accurate, timely and understandable disclosure.

                         SEMA4’S AUDIT COMMITTEE CHARTER

       50.    Sema4’s Audit Committee Charter states the purpose of the Audit Committee as

follows:

       The purpose of the Audit Committee (the “Committee”) of the Board of Directors (the
       “Board”) of GeneDx Holdings Corp. (“GeneDx”) is to assist the Board in fulfilling
       its oversight responsibilities relating to:

       • GeneDx’s accounting and financial reporting processes and internal controls,
       including audits and the integrity of GeneDx’s financial statements;

       • the qualifications, independence and performance of GeneDx’s independent auditors
       (the “Independent Auditors”); • risk assessment and management; and

       • compliance by GeneDx with legal and regulatory requirements.

       This charter (the “Charter”) sets forth the authority and responsibility of the
       Committee in fulfilling its purpose. The function of the Committee primarily is one
       of oversight. Although the Committee has the responsibilities and powers set forth in
       this Charter, it is not the Committee’s duty to plan or conduct audits or to determine
       that GeneDx’s financial statements are complete, accurate and in accordance with
       generally accepted accounting principles. Instead, those are responsibilities of
       GeneDx’s management and the Independent Auditors.

       51.    In a section outlining the Audit Committee’s authority and responsibilities with

respect to Risk Oversight and Compliance, the Audit Committee Charter states that the Audit

Committee shall, among other things:
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       1. Review with management GeneDx’s major financial risks and enterprise
          exposures and the steps management has taken to monitor or mitigate such risks
          and exposures, including GeneDx’s procedures and any related policies with
          respect to risk assessment and risk management.

       2. Review with management GeneDx’s cybersecurity and other information
          technology risks, controls and procedures, including GeneDx’s plans to mitigate
          cybersecurity risks and respond to data breaches.

       3. Review with management GeneDx’s risk exposures in other areas, as the
          Committee deems necessary or appropriate from time to time.

       4. Review with management GeneDx’s (a) programs for promoting and monitoring
          compliance with applicable legal and regulatory requirements, and (b) major legal
          and regulatory compliance risk exposures and the steps management has taken to
          monitor or mitigate.

       5. Review the status of any significant legal and regulatory matters and any material
          reports or inquiries received from regulators or government agencies that
          reasonably could be expected to have a significant impact on GeneDx’s financial
          statements. such exposures.

       52.    With respect to internal controls, the Audit Committee Charter charges the Audit

committee with the responsibility to, among other things:

       1. Review and discuss with GeneDx’s management and the Independent Auditors,
       and provide oversight over, the design, implementation, adequacy and effectiveness
       of GeneDx’s accounting and financial processes, and systems of internal controls and
       material changes in such controls, including any significant deficiencies and material
       weaknesses in their design or operation.

       2. Review any allegations of fraud that are disclosed to the Committee involving
       management or any employee of GeneDx with a significant role in GeneDx’s
       accounting and financial reporting process and systems of internal controls.

       3. Discuss any comments or recommendations of the Independent Auditors outlined
       in their annual management letter or internal control reports.

       4. Periodically consult with the Independent Auditors out of the presence of GeneDx’s
       management about internal controls, the fullness and accuracy of GeneDx’s financial
       statements and any other matters that the Committee or the Independent Auditors
       believe should be discussed privately with the Committee.

       5. Establish procedures for (a) the receipt, retention and treatment of complaints
       received by GeneDx regarding accounting, internal accounting controls or auditing
       matters, and (b) the confidential anonymous submission by employees of GeneDx of
       concerns regarding questionable accounting or auditing matters. Oversee the review
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       of any such complaints and submissions that have been received, including the current
       status and the resolution, if one has been reached.

                                SUBSTANTIVE ALLEGATIONS

       Sema4’s Business

       53.     Sema4 is a health company that uses AI to enable personalized medicine. Sema4 is

primarily a diagnostic testing company, which derives the majority of its revenue from Women’s

Health and Oncology diagnostic solutions. Specifically, Women’s Health solutions include carrier

screening, non-invasive prenatal testing, and newborn screening, while Oncology solutions include

hereditary cancer testing, molecular profiling, and genomic data collection. The majority of the

Company’s diagnostic testing revenue as well as total revenue are derived from reimbursements from

health plans. Being in network with health plans was crucial to improving the Company’s ability to

receive adequate reimbursements from health plans; if the Company was not in network with major

health plans, patients would be less likely to use the Company’s products and physicians would be

less likely to recommend the Company’s products to patients, which would stymie the Company’s

ability to increase ASPs and testing volumes.

       54.     Sema4 was founded by defendant Schadt as part of Icahn School of Medicine at

Mount Sinai’s Department of Genetics and Genomic Sciences and the Icahn Institute for Genomics

and Multiscale Biology. Sema4 was established out of the Mount Sinai Health System and

commenced operations in June 2017 as a commercial entity. The Company debuted on the Nasdaq

Stock Market as a publicly traded company after completing a business combination with CM Life

Sciences, a special purpose acquisition company, in July 2021.

       55.     Though primarily a diagnostic testing company, Sema4 seeks to expand its core

business to data and analytics solutions which leverage longitudinal patient data, AI-driven predictive

modeling, and genomics in combination with other data to deliver better outcomes for patients.

       56.     The Company claims that its integrated information platform leverages longitudinal
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patient data, AI-driven predictive modeling, and genomics in combination with other molecular and

high-dimensional data to transform the practice of medicine, including how disease is diagnosed,

treated, and prevented. The Company further asserts that it established one of the largest, most

comprehensive, and fastest growing integrated health information platforms, collecting and

leveraging genomic and clinical data in partnership with patients, healthcare providers, and an

extensive ecosystem of life science industry contributors.

        57.     The Company processes a substantial amount of data and maintains a database that

includes approximately 12 million de-identified clinical records, including more than 500,000 with

genomic profiles, integrated in a way that the Company claims to enable physicians to proactively

diagnose and manage disease. The Company represents that the data enables it to further develop,

train, and refine predictive models and drive differentiated insights, which models and insights it

deploys through its diagnostic and research solutions and portals to support clinicians and researchers

and engage patients, all of which interactions it claims generate more data to continue the cycle.

        58.     By providing differentiated insights through diagnostic testing solutions to physicians

and patients across the United States in areas such as reproductive health, population health, and

oncology, the Company is reimbursed by payors, providers, and patients for providing these services.

In collaboration with pharmaceutical and biotech companies, the Company receives payments for a

broad range of services relating to the aggregated data on its information platform, such as consenting

and recontacting patients, the development and implementation of a wide range of predictive models,

including drug discovery programs, conducting real-world evidence studies, and aiding in the

identification and recruitment of patients into clinical trials.

        59.     The Company expected to expand the revenue from its health system and biopharma

partners. The Company believed that its scale combined with its revenue-generating diagnostics

testing business enabled it to build a significant and highly differentiated technological and

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informational asset.

       60.     Additionally, the Company claimed to have developed a holistic health information

platform, Centrellis, to transform the disease diagnosis and treatment paradigm for the entire

healthcare ecosystem: patients, physicians, health systems, payers, and biopharma companies. The

Company claimed that its Centrellis platform was comprised of a data management backend that

supported a wide array of databases, data warehouses, and knowledge bases, a data analytics layer to

mine the data and construct predictive models that purportedly provided differentiated insights, and

a series of application programmable interfaces to enable tool and software applications to access the

data and models. The Company asserted that Centrellis served as the underlying foundation of its

precision medicine solution and that it comprised a sophisticated data management and analytics

engine. According to the Company, in the data management layer, its platform processed and stored

data in a highly structured and accessible way, which was then analyzed by an advanced insights

engine in the analytics layer that deployed state-of-the-art AI, probabilistic causal reasoning and

machine learning approaches, and complementary analytics capabilities to deliver accurate insights

to patients, providers, and researchers across a broad range of applications.

       61.     The Company maintained that Centrellis was designed to transform treatment

decisions across multiple therapeutic areas by engaging large-scale, high-dimensional data and

querying the predictive models of disease and wellness using patient-specific data to derive highly

personalized, clinically actionable insights. The Company asserted that Centrellis supported various

applications, such as delivery of personalized and actionable treatment insights into clinical reports,

clinical trial matching, real-world evidence trials and clinical decision support, through an advanced

programmable interface layer.

       62.     Since its inception, the Company has racked up significant net losses. For example,

as of December 31, 2021, the Company had an accumulated deficit of about $575.4 million.

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Expanding its strategic partnerships was crucial to the Company’s growth. Thus, the market reacted

favorably to the Company’s announcement in January 2022, that it would be acquiring GeneDx,

which provides rare disease diagnostic and exome sequencing services, in a $623 million acquisition.

Combining Sema4’s platform with GeneDx’s services would allow Sema4 to become one of the

largest genomic screening providers in the U.S. and the Company stated that the acquisition would

allow it to greatly increase revenues to $350 million in 2022 for the combined companies, with

Sema4’s women’s health expected to account for greater than half of that revenue. The acquisition

agreement required, among other things, that Sema4 would pay consideration of $150 million in cash

at closing and 80 million shares of Sema4’s Class A common stock to be issued at closing. On May

2, 2022, the Company announced the closing of its acquisition of GeneDx. After the closing of the

acquisition, Sema4 went by the name GeneDx and the Company’s common stock began to trade on

the NASDAQ exchange under the symbol “WGS.”

        Misrepresentations

        63.     During the Relevant Period of the wrongdoing, the Individual Defendants made, or

permitted the ussuance of, numerous representations that were materially false and misleading.

        64.     On March 14, 2022, Sema4 announced its fourth quarter and full year 2021 financial

results in a press release that stated, in relevant part:

        Sema4 Reports Fourth Quarter and Full Year 2021 Financial Results and
        Business Highlights

        March 14, 2022

        37% increase in fourth quarter test volumes (excluding COVID-19 tests)
        compared to the same period last year

        Record quarterly test volume of nearly 83,000

        24% growth in fourth quarter revenue (excluding COVID-19 tests) compared to the
        same period last year

        Reiterating full year 2022 total revenue guidance of $215-225 million Sema4 to host
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        conference call today at 4:30 p.m. ET

        STAMFORD, CT — March 14, 2022 —Sema4 Holdings Corp. (Nasdaq: SMFR)
        (“Sema4”), an AI-driven genomic and clinical data intelligence platform company,
        today reported its financial results for the fourth quarter and full year ended
        December 31, 2021 and provided an update on key strategic and operational
        initiatives.

        “2021 was a transformative year during which we grew our test volumes and patient
        database, further established Sema4 as a partner of choice for health systems,
        advanced our strategic objectives to accelerate the growth of our platform of
        algorithms, and listed on Nasdaq as a public company,” said Eric Schadt, PhD,
        Founder and Chief Executive Officer of Sema4. “We are well positioned for 2022 and
        are excited to see the investments in our key initiatives begin to scale our core business
        and further grow our data engine. We also continue to expect to close the acquisition
        of GeneDx by the end of Q2, which will significantly enhance the power of our
        Centrellis® platform and distance us as the market leader with the most
        comprehensive clinically relevant data set available for research and development
        purposes.”

        “I am pleased with our results in the quarter, and as we look ahead to 2022, I am
        encouraged by the trajectory of volumes and gross margins,” said Isaac Ro, Chief
        Financial Officer of Sema4. “Investments in automation, people, and processes are
        now translating into tangible efficiencies. We expect gross margins to further improve
        throughout 2022.”

(a)     Fourth Quarter & Recent Highlights

•       Diagnostic testing volumes were up 37% in the fourth quarter of 2021 compared to
        the same period of 2020, with 82,966 tests resulted (excluding COVID-19 tests),
        including 142% growth in Oncology and 33% growth in Women’s Health

•       Total revenue increased 24% in the fourth quarter of 2021 (excluding COVID-19
        testing revenue) compared to the same period of 2020, resulting in total revenue of
        $47.3 million compared to $38.2 million

•       Published two papers in November 2021 in partnership with the Mount Sinai Health
        System demonstrating the ability of Sema4’s machine learning algorithms to predict
        clinical outcomes and drive meaningful changes in the standard of care for postpartum
        hemorrhage

•       Announced the signing of a definitive agreement to acquire GeneDx, Inc.
        (“GeneDx”) in January 2022, which is expected to strengthen Centrellis with more
        than 300,000 clinical exomes and over 2.1 million expertly annotated phenotypes

•       Entered into definitive agreements for a $200 million private placement financing
        from leading growth and life sciences investors, including Pfizer, in January 2022 in

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        conjunction with the signing of the merger agreement for the pending GeneDx
        acquisition
•       Strengthened Market Access Team in February 2022 with the addition of 30-year
        industry veteran, Jerry Conway, Sema4’s SVP of Market Access

•       Included in Fast Company’s prestigious annual list of the World’s Most Innovative
        Companies in March 2022; named as one of the top three most innovative data science
        companies

(b)     Full Year 2021 Business Highlights

•       Signed three new health system partnerships with NorthShore University
        HealthSystem, AdventHealth, and Avera Health, launching broad precision medicine
        initiatives to improve health outcomes

•       Further developed our clinical trial and testing solutions, real world evidence studies,
        and casual network models for drug discovery in oncology, autoimmune and rare
        diseases, while also launching new transformative partnerships focused on creating
        significant value for pharmaceutical and biotech companies

•       Launched Sema4 Elements®, our portfolio of data science-driven products and
        services to support reproductive and generational health, including a newly enhanced
        version of Sema4’s Expanded Carrier Screen for pregnancy planning

•       Debuted on the Nasdaq Stock Market as a publicly traded company after completing
        a business combination with CM Life Sciences (Nasdaq: CMLF), a special purpose
        acquisition company (SPAC) sponsored by affiliates of Casdin Capital, LLC and
        Corvex Management LP

(c)     Fourth Quarter and Full Year Financial Results

(d)     Total revenue for the fourth quarter of 2021 was $57.8 million compared to $64.0
        million in the fourth quarter of 2020. Total revenue for the full year of 2021 was
        $212.2 million compared to $179.3 million for the full year of 2020. Year over year
        revenue growth was driven primarily by an increase in testing volumes of both our
        Women’s Health and Oncology product lines.

        Cost of services was $60.6 million in the fourth quarter of 2021 compared to $69.6
        million in the same period of 2020. The decrease was a result of lower volumes in our
        COVID-19 business and lower stock-based compensation expense, offset by
        increased headcount, investments in systems, and higher logistical and supply costs due
        to increased volumes in our non-COVID-19 business. We anticipate these new
        investments will enable us to support continued volume growth with significantly
        higher cost efficiencies over time. Cost of services was $228.8 million for the full year
        of 2021 compared to $175.3 million for the full year of 2020. The annual
        increase was driven by increased stock-based compensation expense, increased
        headcount, and an increase in logistical expenses as a result of our expanded
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       operations.

       Adjusted cost of services, which excludes stock-based compensation expense and
       other one-time COVID-19-related expenses, was $58.0 million for the fourth quarter
       of 2021 compared to $43.5 million in the same period of 2020. Adjusted cost of
       services was $206.2 million for the full year of 2021 compared to $142.8 million for
       the full year of 2020.

       Operating expenses for the fourth quarter of 2021 were $113.0 million compared to
       operating expenses of $119.4 million for the fourth quarter of 2020. The decrease in
       operating expenses was due in part to lower stock-based compensation expense, offset
       by higher personnel-related costs as we built out our laboratory operations and further
       invested in our health intelligence platform, as well as incremental public company
       expense. Operating expenses for the full year of 2021 were $429.5 million compared
       to operating expenses of $246.0 million for the full year of 2020.

       Adjusted operating expenses, which excludes stock-based compensation, for the
       fourth quarter of 2021 were $78.6 million compared to $38.9 million in the same
       period of 2020. Adjusted operating expenses, which excludes stock-based
       compensation expense and non-recurring transaction expenses, for the full year of
       2021 were $227.2 million compared to $138.7 million for the full year of 2020.

       Net loss for the fourth quarter of 2021 was ($40.2) million as compared to a net loss
       of ($125.7) million for the same period in 2020. Fourth quarter of 2021 net loss included
       other income of $76.2 million tied to the decrease in liabilities attributable to warrant
       and earn-out contingent liabilities recorded in connection with the merger with CM
       Life Sciences. Net loss for the full year of 2021 was ($245.4) million compared to a
       net loss of ($241.3) million for the full year of 2020.

       Total cash and cash equivalents were $400.6 million as of December 31, 2021. As of
       March 07, 2022, Sema4 had 244,959,781 outstanding shares of Class A common stock.

       65.     Also on March 14, 2022, the Company held a conference call to discuss its fourth

quarter and full year 2021 financial results. During the call, defendants Schadt and Ro represented the

following:

       ERIC E. SCHADT, FOUNDER, CEO & DIRECTOR, SEMA4 HOLDINGS
       CORP.: Thank you, Joel, and thank you, everyone, for joining us on our fourth quarter
       and full year 2021 financial results conference call. I will begin with an overview of
       our performance, including the recent drivers of our success and future drivers of
       growth before passing the call to Isaac for a financial update. We will then open the
       call for questions.




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    2021 was a transformative year for Sema4, during which we drove record test
    volumes and grew our clinical molecular and patient databases listed on NASDAQ as
    a public company and advanced our strategic objectives to accelerate the growth of our
    platform of algorithms. Overall, I’m very excited by our organizational progress
    during a year that had more disruptive macro issues than I would have imagined
    heading into 2021.

                                        * * *

    In the fourth quarter, we delivered revenue of $47.3 million, excluding COVID,
    representing 24% growth compared to $38.2 million in the same period a year ago.
    Importantly, we continue to make substantial progress advancing key initiatives as
    evidenced by the nearly 83,000 resulted tests in the quarter, representing 37%
    growth compared to 61,000 resulted tests in the same period a year ago.

                                        * * *

    We believe that Centrellis is the most extensive and fastest-growing database of
    clinically relevant patient data in the industry. Meanwhile, our next-gen sequencing
    capacity continues to expand, where we are expecting to grow genomic patient records
    more than 50% in 2022 over 2021.

                                        * * *

    We are excited to partner with Katherine Stueland, CEO of GeneDx and the team
    from GeneDx, who share our vision of leveraging genomics in large-scale clinical and
    multiomic data to enhance the standard of care through precision medicine in
    partnership with patients and providers. Combining GeneDx’s clinical genomic
    solutions with our core women’s health business allows us to better serve health
    system and pharmaceutical and biotech partners in a more holistic way. This
    transaction will significantly enhance the power of our Centrellis database by
    adding more than 2.1 million expertly curated phenotypes and well over 300,000
    clinical exomes that GeneDx has generated to date. Following the close of the
    acquisition, Sema4 will have the most comprehensive clinically relevant data set
    available for our research and development purposes.

                                        * * *

    We are pleased to have recently announced our partnership with BioSymetrics
    focusing on data driven drug discovery to advance precision medicine. Together, we
    will leverage our proprietary health intelligence platform, Centrellis, in
    combination with Elion, BioSymetrics’ phenotypic drug discovery platform to both
    experimentally validate our AI-based disease and risk models and to discover new
    treatments initially in cardiovascular, rare and neurological diseases.




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                                        * * *

    This brings me to an update on our expanding data platform. We are pleased to see
    our growing patient and provider engagement translate into increasing test volumes
    with a total of 292,000 tests resulted in 2021, excluding COVID. This represents
    annual growth of 41% when compared to 208,000 tests resulted in 2020.

    All areas of our core business are contributing to test volumes, including our
    recently launched product, Sema4 Elements. Sema4 Elements is part of our women’s
    hub portfolio and enables providers to treat patients holistically during their
    reproductive cancer and generational health journeys.

                                        * * *

    ISAAC RO, CFO, SEMA4 HOLDINGS CORP.: Thank you, Eric. Turning to our
    fourth quarter and full year 2021 financial results. Total revenue for the fourth
    quarter of 2021 was $57.8 million, down 10% compared to $64 million in the fourth
    quarter of 2020. Diagnostic test revenue was $56.1 million in the fourth quarter of
    2021, down 9% compared to $61.6 million in the same period of 2020. COVID-19
    testing revenue in Q4 was $10.5 million, down 59% year-over-year, but was up
    151% sequentially from the third quarter of 2021. Other revenue totaled $1.7
    million in the fourth quarter of 2021 compared to $2.4 million in the fourth quarter
    of 2020. Excluding COVID 19, total revenue for the company in the fourth quarter
    of 2021 was up 24% year-over-year.

    Total revenue for 2021 was $212.2 million, up 18% compared to $179.3 million in
    2020. Diagnostic test revenue was $205.1 million in 2021, up 17% compared to
    $175.4 million in 2020. COVID-19 testing revenue in 2021 was $34.4 million,
    representing an annual increase of 4.8%. For the full year, other revenue totaled
    $7.1 million in 2021 compared to $4 million in 2020. The increase was mainly
    attributable to growth in collaboration service activities related to new partnerships
    with biopharma. Excluding COVID-19, total revenue for the full year of 2021 was
    up 21%.

    Turning to volumes. We resulted approximately 83,000 diagnostic tests during the
    fourth quarter of 2021, excluding COVID-19. That was up 37% compared to the
    same period in 2020. We recorded 142% volume growth in oncology and this
    category now accounts for 6% of our total volume, excluding COVID-19.

    Women’s health volumes grew 33% in the fourth quarter compared to the same
    period in 2020. For the full year of 2021, we resulted approximately 292,000
    diagnostic tests, excluding COVID 19, up 41% compared to the full year of 2020.

                                        * * *



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    BRANDON COUILLARD, EQUITY ANALYST, JEFFERIES LLC, RESEARCH
    DIVISION: Maybe just start with Eric. In terms of the health systems, it’d be great to
    just maybe get some more detail, some more color on how you think those
    relationships are progressing? And I'm just trying to get a feel for how much these are
    contributing today, what the right metrics are that we should look at and where you
    kind of see those partnerships that you have today advancing over the next 12 months?

    ERIC E. SCHADT: Yes. Again, we’re like super pleased with the health system
    partnerships we formed today and the performance between the Mount Sinai
    system, NorthShore and Avera in terms of testing volume now accounts for a
    substantial percentage of the testing volume. So the uptake and drive into those
    systems is going well. We talked about the level of uptake in the NorthShore system
    with respect to the genomic health screening as part of their population health
    program and the amount of translation of those screenings into heritable cancer
    screening. So that’s all gone amazing and having over 90%. Not only 90% of those
    primary care physicians ordering that testing, but over 80% indicating changes,
    substantial increases in standard of care, like are amazing.

                                          * * *

    MAX MASUCCI, SENIOR ANALYST, COWEN AND COMPANY, LLC,
    RESEARCH DIVISION: I would just be curious to start, was the deal with
    Biosymetrics driven more by Sema4’s core capabilities with Centrellis? Or did
    GeneDx’s whole exome database play a factor?

    ERIC E. SCHADT: Yes, driven initially completely by the Centrellis platform,
    engaging a partner with significant high-content screening type capabilities, the
    ability to experimentally validate across a broad array of experimental systems, the
    kinds of predictions we make and the complex models we put together for disease.

    So helping validate and progress those models for better actionability, whether it’s in
    clinical test, the clinical genomic testing or in the drug discovery partnerships we have
    with pharmaceutical companies, but then also better leveraging from our information
    assets to progress targets on our own in partnership with Biosymetrics.

    The add of GeneDx into the mix just kind of accelerates in my view, the utility of that
    platform, especially in the rare disorder arena where the scales of data GeneDx brings
    to the table and the breadth of their testing across all of the children’s hospitals and
    kind of that rare disorder space kind of gives us definitely a strategic advantage in kind
    of from identifying and prioritizing targets that we may progress to finding the right
    patient populations to further assess those models.

                                          * * *




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    UNIDENTIFIED ANALYST: Great. And then looking forward to continued strong
    growth in your oncology business. Any additional color on the women’s health versus
    oncology mix we can expect for the year?

    ISAAC RO: Yes. Maybe just high level, I would say that you’re seeing the volume
    growth each of the last 2 quarters in oncology, triple digits. So while it’s still
    relatively small absolute values versus the women’s health business, you can clearly
    see that it is the fastest-growing part of our franchise, #1. And #2, we’re growing
    much faster than the end markets. that we serve in that category.

    So a lot of that’s being enabled by the health system progress that we’re making.
    Eric touched on a lot of that. So we feel really good about the opportunity for our
    oncology franchise going forward. I should also remind you that from a
    reimbursement perspective, we had a bunch of irons in the fire this year to drive
    better payment so that the revenue attached to our volume starts to catch up. And if
    we do that, that will also be important to improving our gross margin profile in the
    second half of the year.

    So lots going on in the oncology business on the internal side that’s really positive and
    worth highlighting. And as we think about the feedback that we're getting, again, the
    consortium that we held with our health system partners, they’re really excited about
    what we’re able to enable for them and their patients with the data that wraps around
    the test ourselves -- themselves.

    ERIC E. SCHADT: Yes. And maybe I just wanted to add a little on top of that, that
    it’s -- on the women’s health side, one of the big plays that we’re making there and
    that are driving a significant part of that growth is through the oncology connection
    with women’s health with diseases like breast and ovarian, endometrial cancer
    being reproductive health diseases and kind of offering our heritable cancer
    genomic testing solution in that arena, where we’re getting kind of the best uptake
    in more traditional OB-GYN channels. And of course, also the partnerships around
    the somatic tumor profiling connected that with respect to breast and ovarian. So
    there’s a lot of connectivity, again, driving across those different channels and in
    particular, with the health systems.

    And what I’ll also say to Isaac’s point on the fast growth and uptake in these systems
    on the oncology solution is kind of representative of there is no full precision oncology
    solution today. Nobody really has that today. And again, the testing is part of it, liquid
    biopsy may be part of it, the data is part of it, the patient engagement is part of it. But
    what the systems really need, what the physicians really need is a way to more
    effectively manage, engage that information, make decisions over time, and it’s not a
    onetime episodic test that gets flipped. It’s a way more holistic wraparound solution
    that we’re providing.




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       66.    On that same day, March 14, 2022, the Company filed its annual report on Form 10-K

for the period ended December 31, 2021 (the “2021 10-K”). Director Defendants Ryan, Casdin,

Leproust, Meister, and Ruch signed the 2021 10-K. The 2021 10-K purported to warn:

       If third-party payors, including managed care organizations, private health
       insurers and government health plans, do not provide adequate reimbursement for
       our tests, or seek to amend or renegotiate their fee reimbursement schedules, or if
       we are unable to comply with their requirements for reimbursement, our
       commercial success could be negatively affected.

       Our ability to increase the number of billable tests and our revenue therefrom will
       depend on our success in achieving reimbursement for our tests from third-party
       payors. . . .

                                            ***

       A significant portion of the payments for our tests are paid or reimbursed under
       insurance programs with third-party payors. To contain reimbursement and
       utilization rates, third-party payors often attempt to, or do in fact, amend or
       renegotiate their fee reimbursement schedules. Loss of revenue caused by third-
       party payor cost containment efforts or an inability to negotiate satisfactory
       reimbursement rates could have a material adverse effect on our revenue and
       results of operations.

       Furthermore, in cases where we or our partners have established reimbursement rates
       with third-party payors, we face additional challenges in complying with their
       procedural requirements for reimbursement. These requirements often vary from
       payer to payer and are reassessed by third party payors on a regular basis, and we have
       needed additional time and resources to comply with them. We have also experienced,
       and may continue to experience, delays in or denials of coverage if we do not
       adequately comply with these requirements. Our third-party payors have also
       requested, and in the future may request, audits of the amounts paid to us. We have
       been required to repay certain amounts to payers as a result of such audits, and we
       could be adversely affected if we are required to repay other payers for alleged
       overpayments due to lack of compliance with their reimbursement policies. In
       addition, we have experienced, and may continue to experience, delays in
       reimbursement when we transition to being an in-network provider with a payer.

       We expect to continue to focus our resources on increasing adoption of, and
       expanding coverage and reimbursement for, our current tests and any future tests we
       may develop or acquire. If we fail to expand and maintain broad adoption of, and
       coverage and reimbursement for, our tests, our ability to generate revenue could be
       harmed and our future prospects and our business could suffer.



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    On May 12, 2022, Sema4 announced its first quarter 2022 financial results in a press
    release that stated, in relevant part:

    Sema4 Reports First Quarter 2022 Financial Results and Business Highlights

    May 12, 2022

    Total revenue of $53.9 million

    1,300 basis points of sequential adjusted gross margin improvement Reaffirming full
    year 2022 pro forma revenue target

    New operating model and focus on efficiencies to reduce 2022 cash burn by an
    estimated $50 million, extending cash runway into 2024

    Sema4 to host conference call today at 4:30 p.m. ET

    STAMFORD, Conn., May 12, 2022 (GLOBE NEWSWIRE) -- Sema4 Holdings
    Corp. (Nasdaq: SMFR) (“Sema4”), an AI-driven genomic and clinical data
    intelligence platform company, today reported its financial results for the first quarter
    ended March 31, 2022 and provided an update on key strategic and operational
    initiatives.

    “I am very pleased by our start to the year, which shows fundamental improvements
    from a financial perspective, as well as significant progress across our strategic
    objectives. We delivered record test volume and expanded engagement across our
    health system partnerships,” said Eric Schadt, PhD, President and Chief Research
    & Development Officer of Sema4. “We were also delighted to complete the
    acquisition of GeneDx and welcome Katherine Stueland as our new CEO to further
    scale, operationalize, and strengthen Sema4.”

     “With the strength of Sema4’s platform, the addition of GeneDx will accelerate the
    delivery of precision medicine and enable even broader data capabilities than before.
    We have strong momentum that puts us on a path to deliver on our 2022 pro forma
    revenue target of $350 million. In addition, we are focused on operating efficiencies
    that will reduce 2022 cash burn by an estimated $50 million compared to our original
    plan, extending our cash runway into 2024,” said Katherine Stueland, Chief Executive
    Officer of Sema4. “Since closing the GeneDx acquisition, we have streamlined our
    leadership team and established a new, agile operating model to drive growth,
    operating efficiency, and the delivery of transformational partnerships, all of which
    put us on a scalable path to profitability. With this focus, we can realize our vision of
    applying the use of genomics and large-scale clinical data to set a new standard of
    care, enabling comprehensive family health, from planning a pregnancy through every
    stage of life.”

    First Quarter & Recent Highlights

     •       Testing volumes were up 27% in the first quarter of 2022 compared to the
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             same period of 2021, with 84,925 tests resulted (excluding COVID-19
             tests)

     •        Total revenue in the first quarter of 2022, excluding COVID-19 testing
             revenue, was $50.1 million compared to $48.3 million in the same period
             of 2021. Total revenue in the first quarter of 2022, including COVID-19
             testing revenue, was $53.9 million compared to $64.2 million in the same
             period of 2021

     •       Completed the acquisition of GeneDx, Inc. (“GeneDx”) at the end of April
             accelerating the Company’s path to improving gross margins and ultimately
             towards profitability

     •       Streamlined the leadership team to enable focused execution across key
             growth priorities, operating efficiency, and transformational health system
             and biopharma partnerships

     •       Closed $200 million in financing via private placement from leading growth
             and life sciences investors, including Pfizer, in conjunction with the
             completion of the GeneDx acquisition

     •       Expanded REPRESENT study in March to run nationally in partnership
             with community oncologists caring for patients with advanced cancer in
             diverse and traditionally underserved populations

    First Quarter 2022 Financial Results

    Total revenue for the first quarter of 2022 was $53.9 million compared to $64.2
    million in the first quarter of 2021. The decline in year over year revenue was
    primarily attributable to a decrease in COVID-19 test volumes as a result of the
    decision to discontinue testing services at the end of the first quarter of 2022. This
    was partially offset by an increase in testing volumes of both our Women’s Health
    and Oncology product lines. First quarter revenue growth was 4% year-over-year
    and 6% sequentially (excluding COVID-19 testing revenue) vs. the fourth quarter of
    2021.

    Gross margin for the first quarter of 2022 was 10%. Adjusted gross margin for the
    first quarter of 2022 was 13%, as compared to adjusted gross margin of 22% for the
    same period in the prior year. Adjusted gross margin was up roughly 1,300 basis points
    sequentially vs. the fourth quarter of 2021.

    Operating expenses for the first quarter of 2022 were $94.9 million. Adjusted
    operating expenses for the first quarter of 2022, which excludes stock-based
    compensation, restructuring, and transaction expenses, were $71.8 million compared
    to $43.9 million in the same period of 2021.

    Net loss for the first quarter of 2022 was ($76.9) million. Adjusted net loss for the first
    quarter of 2022 was ($65.9) million compared to ($24.9) million in the same period
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       of 2021.

       Total cash and cash equivalents were $315.0 million as of March 31, 2022 and the
       Company’s $125 million revolving credit facility remains undrawn, bringing total
       liquidity to $440.0 million. As of April 29, 2022, Sema4 had 377,249,186 outstanding
       shares of Class A common stock.

       67.     Also on May 12, 2022, the Company held a conference call to discuss its first

quarter 2022 financial results. During the conference call, defendant Ro represented the following:

       ISAAC RO, CFO, SEMA4 HOLDINGS CORP.: Thank you, Eric. Turning to our
       financial results for the first quarter of 2022. Total Sema4 revenue in the first quarter
       of 2022 was $53.9 million compared to $64.2 million in the first quarter of 2021.
       Excluding COVID-19, total revenue in the first quarter was $50.1 million, up 4%
       year-on-year and up 6% versus the fourth quarter of 2021. Regarding volumes, we
       achieved a new record this quarter with 84,925 resulted tests, excluding COVID.
       This represents a 27% year-over-year increase versus the first quarter of 2021.
       Women’s Health grew 23% and Oncology grew 159%.

                                             ***

       MARK ANTHONY MASSARO, MD & LIFE SCIENCE & DIAGNOSTIC
       TOOLS ANALYST, BTIG, LLC, RESEARCH DIVISION: Congrats on the
       quarter. I guess I wanted to ask about underlying volume trends. Do you think that the
       23% and 159% growth rates in Q1 for Women’s Health and Oncology are reasonable
       run rates as we look out later into this year? And maybe can you just remind us
       where exactly, maybe help us think about the particular growth rates between legacy
       Sema4 and legacy GeneDx?

       ISAAC RO: Mark, thanks for that question. So just a reminder that Q1 this year was
       a comp over the peak COVID period last year, right? So I’m sure you knew that. But
       as we think about the rest of the year, we feel really good about what we’re seeing in
       the channel with our commercial team. We’re obviously just getting married together
       between the 2 sides. So we think that we’re off to a strong start. That should continue
       as the year progresses. We’ll, of course, provide more detail on the quarters as we
       progress into the year. But right now, we’re off to a strong start. We thought it was
       sufficient to reiterate the guidance.

                                             ***

       OPERATOR: Our next question comes from Brandon Couillard with Jefferies.

       MATT KIM: This is Matt on for Brandon. Just one quick one on pricing. It looked like
       solid progress there sequentially in the quarter. Can you just talk about some of the
       initiatives you expect to come online in the back half of the year that you previously
       highlighted, I think, in oncology and market access and kind of where you see ASPs
       headed from here for the rest of the year?
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    ISAAC RO: Sure. Matt, thank you. So on the pricing side, the most important thing, I
    think, is the fact that our team is materially strengthened from where it was even at
    the start of the year. We’ve, on the Sema4 side, expanded that team with a new
    leadership and then, of course, with GeneDx, massively increased the scale of that
    team. So now that we’ve got a really significant capability that we didn’t have just a
    few quarters ago, we’re in a position to, I think, push on several fronts to drive better
    ASPs.

    Of course, on the oncology front, we’ve talked before about pushing forward with
    reimbursement for somatic profiling. That’s making good progress and on track
    with our plan to realize better reimbursement by the middle part of the year. And
    then on the market access side, there’s just a huge universe of ways in which we can
    optimize our efforts in partnership with our commercial team, in partnership with
    payers, in partnership with our health system partners, a whole bunch of things that
    I would say, together, should allow us to, with the same amount of volume like-for-
    like, drive better amounts of revenue and, therefore, ASP. So I’m personally very
    excited about the opportunity that we have this year to drive improvement there. It’s
    a meaningful part of the gross margin improvement strategy.

                                          ***

    MAX MASUCCI, MD AND SENIOR RESEARCH ANALYST, COWEN AND
    COMPANY, LLC, RESEARCH DIVISION: First one for Isaac. Can you just walk us
    through maybe the reimbursement dynamics that played into the gross margin beat in
    the quarter and the raised guide, if we do separate those from some of the lab operation
    improvements and other factors?

    ISAAC RO: Yes. Sure, Max. So I wouldn’t say that reimbursement changed
    dramatically in Q1. We obviously, like I said earlier, had the benefit of a little mix.
    But really, it was, what I would call, a quarter of relative stability, and that’s what
    we’ve been working towards. And as you look at the rest of the year, there will be
    some moving parts. But in general, we’re obviously very excited about the potential
    for better reimbursement in oncology. As I mentioned earlier, that’s something
    that’s around the corner. And then as we look at the rest of the business, a lot of the
    opportunity around ASP really relates mostly towards improved billing collections,
    that kind of thing. Future contracting is also important. It takes a little bit more
    time for that to work through the numbers. But there’s a bunch of levers that we’re
    pulling that will translate into better ASP, and reimbursement is just one variable in
    the equation.

                                          ***

    DAVID GRAVES DELAHUNT, ASSOCIATE, GOLDMAN SACHS GROUP,
    INC., RESEARCH DIVISION: This is Dave. Congrats on the strong quarter. In
    oncology, can you double-click on some of the biggest volume drivers? What are the
    most popular oncology panels you’re seeing and any trends there, such as increasing
    interest in bigger panels?
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       ISAAC RO: Yes. Sure. Dave, thank you. So remember, in oncology, our portfolio
       today is really 2 major product lines: the hereditary cancer risk test as well as the
       somatic profiling. And the former is much larger from a volume standpoint. So when
       you look at the total performance in the quarter, with 159% growth, most of that
       was in the HC business, which continues to do very well for us, both in the broader
       market as well as with some of the health system partners with whom we’re working
       where we’ve mentioned in the past, we’ve been able to drive much higher rates of
       compliance relative to the targeted populations, thanks to our sort of comprehensive
       platform and partnership model. So I think that’s a good validation that we’re doing
       well.

       And then we’re just scratching the surface in somatic where there’s, obviously, a
       huge opportunity to drive a higher rate of market adoption for a really, really
       valuable testing category. And we think we’ve got a very unique and best-in-class
       solution there. So even though we’re a smaller player today, we think our opportunity
       to be much bigger continues to be very compelling. And of course, in lockstep with
       volume, we want to generate a higher rate of revenue attached to those volumes
       which is, as I mentioned earlier, we’re on track for. So in general, good momentum
       in the Oncology business, lots of opportunity ahead of us. And stay tuned, we expect
       this topic will be a bigger area of conversation as the year progresses.


       68.    On June 16, 2022, the Company participated in the Goldman Sachs Global

Healthcare Conference. During the conference, defendant Stueland represented the following:

       MATTHEW CARLISLE SYKES: Great. Thank you for that overview, Katherine.
       Appreciate it. Maybe you talked a little bit about the gross margin improvement and
       the 30% exit rate implied in your guidance. How should we be thinking about some
       of the drivers from both the Sema4 and a GeneDx perspective? Maybe if we can dig
       a little bit deeper into that?

       KATHERINE A. STUELAND: Certainly. And I invite Joel to certainly contribute to
       this. But I think there’s really 3 opportunities for us. One, of course, there is top line
       revenue growth that as we think about expanding utilization of our testing and
       reproductive health in the pediatric setting as well as oncology health systems. There
       is a lot of opportunity for us to expand utilization with new customers.

       So there is top line growth in terms of volume, revenue and improved ASPs. We
       have COGS reductions that are underway for Sema4 standalone, but also utilizing
       some of GeneDx’s best-in class COGS approaches. So that’s another really important
       opportunity for us as well.

       And then, of course, overall operating efficiencies across the entire business, we’re
       really being able to – we’re taking a close look at how the entire business is operating
       and ensuring that we’re really targeting revenue that is high-value revenue, I think
       when you’re in a high growth stage for the company, really attuning the commercial
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       operations towards being able to pull in volume that’s high-value volume.
                                           ***

       MATTHEW CARLISLE SYKES: Great. And maybe we can dig into that R&D. I
       mean, where are the rights to – I mean, where do you feel like you have the right to
       win? And what are the areas of R&D that you are going to be focused on?

       KATHERINE A. STUELAND: So I’ve now spent, I think, the past decade in this
       space really and seeing what it takes from a building, scaling and sharing genomic
       information standpoint and having worked now at 3 companies in the genomic space.
       What I think is really interesting about the Sema4 GeneDx combination? One, we
       have a leading reproductive health franchise on the Sema4 side of things.

       Two, GeneDx is bringing an incredible rare disease asset to bear, both in terms of our
       exome, our interpretation platform that is not only applicable to our exome, but to
       genome as well in addition to the rare disease dataset that we have.

       But then when you think about the data engine, Centrellis, that Eric and the team
       have expertly built. That is an incredible combination of just being able to put a
       data engine that will be able to deliver improved and personalized health insights
       with our exome and genome as a backbone. That really enables something that is
       very different from any other company in this space. And I think that that really sets
       the foundation for how we can work with health systems and pharma companies to
       deliver on the promise of personalized medicine.

       The Truth Emerges

       69.     On August 15, 2022, after the market closed, Sema4 announced changes to its

research and development leadership team, including that defendant Schadt was resigning from the

Company. The Company also disclosed that it was eliminating approximately 13% of its workforce

as part of a series of restructuring and corporate realignments and that it would be eliminating the

Company’s somatic oncology testing business, which had negative gross margins. Finally, defendants

announced that the Company would be shuttering its Branford, CT facility.

       70.     During the related conference call, Kevin Feeley, Senior Vice President of Operations

and Head of GeneDx, stated that:

             Sema4 has reversed $30.1 million of revenue this quarter related to prior
             periods. [This reversal was in connection with negotiations with] one of
             [Sema4’s] larger commercial payors regarding the potential recoupment
             of payments for Sema4 carrier screening services rendered from 2018 to
             early 2022 …. [Management] believe[s] this reversal of revenue accurately
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             reflects and captures the potential risk of recoupment from [the Company’s]
             entire portfolio of third-party payors[.]

       71.     The Company also lowered its fiscal 2022 revenue guidance to a range of $245 million

to $255 million, down from its prior guidance range of $305 million to $315 million. The reduced

guidance was attributed in part to declining pricing, with “ASPs in [Sema4’s] complex reproductive

health segment [at] about $520 in the quarter,” which “compared to about $712 in the quarter prior.”

Joel Kaufman (“Kaufman”), VP of Finance & Corporate Development, stated that, contrary to

Defendants’ earlier representations, the Company is “expecting for the remainder of the year, at least

double-digit sequential declines from 2Q into 3Q for those ASPs in the reproductive health

business.”

       72.     Notably, Kaufman clarified that the reduced expectations were due to the legacy

Sema4 business, stating: “[t]he legacy Sema4 business, we’re taking a more conservative view on

both volume and ASPs, but we are revising our underlying assumptions at the legacy GeneDx

business up based off of the demand we’re seeing for the whole suite of GeneDx’s products to date.”

       73.     Also on August 15, 2022, the Company filed its quarterly report for the period ended

June 30, 2022, disclosing that it had established a reserve of $39.2 million for potential recoupments

of payments previously made by third-party payors:

        The Company is currently engaged in discussions with one of the Company’s third-
        party payors regarding certain overpayments the Company allegedly received from
        the payor for services that the payor alleges are not covered by, or were not
        otherwise properly billed to, the payor. This payor has asserted in informal
        discussions that it will seek recovery or recoupment in relation to the alleged
        overpayments if the matter cannot be settled. While the Company believes it has
        defenses to the payor’s allegations, it is currently engaged in discussions seeking to
        resolve the matter and any claim that may arise in connection therewith in a
        mutually satisfactory manner.




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        As a result of this matter, and in connection with a review of certain billing
        policies and procedures undertaken by management following the acquisition of
        GeneDx, the Company considered the need to establish reserves for potential
        recoupments of payments previously made by third-party payors. As of June 30,
        2022, the Company has established liabilities of $39.2 million as a result of this
        matter and other potential settlements with payors based on the current facts and
        an evaluation of anticipated results that the Company believes reasonable for all
        potential recoupments for all third-party payors combined.

       74.    On this news, the Company’s share price plummeted by $0.80, or 33.33%, to close at

$1.60 per share on August 16, 2022.

       75.    On November 14, 2022, to the surprise of investors, defendants announced the

elimination of the Company’s core business—its reproductive health testing market by year-end

2022, along with its somatic oncology testing operations, as these segments had been losing about

$35 million per quarter and faced multiple challenges in terms of reimbursement, lack of scale and

competition. In connection with the elimination of the reproductive health testing segment,

defendants stated they would close the Company’s Stamford, CT lab. Defendants stated that they had

hired an advisor to find a buyer for the Company’s reproductive health testing segment, but such

efforts were unsuccessful. Defendants stated that going forward, the Company’s business would

focus on GeneDx’s more differentiated exome and genome testing focused on pediatric and rare

disease markets. Defendants also announced yet another workforce reduction of about 500

employees (or 1/3 of the workforce).

       76.    On January 9, 2023, the Company issued a press release entitled “Sema4 Announces

Name Change to GeneDx and Provides Preliminary 2022 Financial Results and 2023 Guidance.

Within the press release, the Company stated the following:




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     STAMFORD, Conn, Jan. 09, 2023 (GLOBE NEWSWIRE) -- Sema4 (Nasdaq:
     SMFR) today announced it has changed its name from Sema4 Holdings Corp. to
     GeneDx Holdings Corp. GeneDx (Nasdaq: WGS), a leader in delivering improved
     health outcomes through genomic and clinical insights, is uniquely positioned to
     accelerate the use of genomic and large-scale clinical information to enable
     precision medicine as the standard of care.

     GeneDx’s industry-leading exome and genome testing is enhanced by Centrellis®,
     its innovative health information platform. Powered by one of the world’s largest
     rare-disease datasets and millions of medical records, Centrellis integrates digital
     tools with artificial intelligence to ingest and synthesize clinical and genomic data.
     GeneDx is developing a more complete understanding of complex disease than ever
     before, which translates to faster diagnoses, more effective treatment plans and
     enhanced drug discovery.

     “For more than 20 years, GeneDx has earned the constant trust of the world’s
     genetics experts, while pioneering and increasing the use of its clinically actionable
     exome and genome analysis. By combining the best of GeneDx and Sema4 to
     continue our growth, we sit at the intersection of diagnostics and data science,
     pairing decades of genomic interpretation expertise with an unmatched ability to
     analyze clinical data at scale. GeneDx now has the capability to combine the power
     of genomic insights with clinical data to improve health care for people and
     populations,” said Katherine Stueland, President and CEO of GeneDx.

     In conjunction with the name change, GeneDx’s shares of Class A common stock
     will trade under the new ticker symbol “WGS,” in recognition of the Company’s
     role in pioneering whole genome sequencing (WGS). The company expects its
     shares of Class A common stock will begin trading on the NASDAQ Stock Market
     under the new name and stock ticker symbol on January 10, 2023.

     I.    Preliminary 2022 Financial Results (Unaudited)

     Excluding revenues and costs from the previously announced exited reproductive
     health and somatic tumor testing businesses, management expects GeneDx to:

     •      Generate pro forma revenues between $170-173 million in 2022, an
            approximate 37-40% increase from pro forma $123.7 million in 2021;
     •      Produce pro forma test result volume of more than 180,000 in 2022, an
            approximate 23% increase from pro forma test result volume of 147,000 in
            2021; and
     •      Deliver pro forma adjusted gross margin between 38-41% in 2022, up from
            34% in 2021.




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        "We are pleased by the acceleration of our business throughout 2022, especially the
        fourth quarter which set a new all-time high for test result volume. Our preliminary
        results, which exceeded our outlook a year ago, validate our strategy to target higher
        growth areas of the genomics market,” said Kevin Feeley, Chief Financial Officer
        of GeneDx.

        II.   2023 Guidance (Unaudited)

        The continuing operations of GeneDx, excluding revenues and costs from exited
        business activities, are expected to:

        •      Generate revenues between $205-220 million for full year 2023;
        •      Expand gross margin profile in 2023 and beyond;
        •      Use net $95-110 million of cash in 2023 for continuing operations. Inclusive
               of servicing obligations of the exited business activities, the Company’s
               cash burn in 2023 is expected to be in the range of $130-145 million and;
        •      Turn profitable in 2025.

        GeneDx has not completed the preparation of its consolidated financial statements
        for the year ended December 31, 2022. The preliminary, unaudited results
        presented in this press release for the year ended December 31, 2022, are based on
        current expectations and are subject to adjustment, as the company completes the
        preparation of its 2022 year-end consolidated financial statements and its 2022
        year-end audit. Further, the preliminary unadjusted results for 2022 and the
        comparable results for 2021 are presented on a pro forma basis assuming GeneDx
        and Sema4 were combined for the entirety of 2021 and 2022 and exclude the
        revenues and costs from the exited reproductive health and somatic tumor testing
        businesses. Actual results may differ materially from those disclosed in this press
        release and will include the results of the legacy GeneDx business only from the
        date of Sema4 Holdings Corp.’s acquisition of GeneDx on April 29, 2022, the
        purchase accounting associated with the acquisition of GeneDx, and will also
        include the financial impacts of exited Sema4 business activities for the full year.

        GeneDx will report its full financial results and other metrics during its fourth
        quarter and year-end 2022 conference call in early March.

       77.    On January 10, 2023, the CT Insider issued an article entitled “Embattled CT company

Sema4 announces name change as it cuts jobs,” which reported the following:

        III. STAMFORD — Genomic testing company Sema4, which recently
        announced plans to cut several hundred jobs and close its laboratories in
        Connecticut, announced Monday the change of its name to GeneDx, the
        Maryland-based genomic testing provider that it acquired last year.



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     The new name is the latest sign of the far-reaching impact of the acquisition of
     GeneDx, whose chief executive officer, Katherine Stueland, is now the combined
     companies’ CEO and president.

     Since its spin-off in 2017 from the Mount Sinai Health System, Sema4 had gone
     by that name, which refers to semaphore, a system used to send signals. In previous
     statements, the company has said it aimed to “discern signal from noise across
     trillions of data points” to gain insights into human health.

     “For more than 20 years, GeneDx has earned the constant trust of the world’s
     genetics experts, while pioneering and increasing the use of its clinically actionable
     exome and genome analysis,” Stueland said in a statement. “By combining the best
     of GeneDx and Sema4 to continue our growth, we sit at the intersection of
     diagnostics and data science, pairing decades of genomic interpretation expertise
     with an unmatched ability to analyze clinical data at scale. GeneDx now has the
     capability to combine the power of genomic insights with clinical data to improve
     health care for people and populations.”

     The name change does not indicate, however, any plans by the company to move
     its headquarters to Gaithersburg, Md., the home city of GeneDx. In response to an
     inquiry from Hearst Connecticut Media Group, a Sema4 spokesperson said Monday
     that the main offices would remain at 333 Ludlow St., in the South End of Stamford.

     IV. But the lab shutdowns in Connecticut are proceeding. The facilities at 1
     Commercial St., in Branford, and 62 Southfield Ave., in Stamford, are scheduled
     to close by the end of the first quarter of this year, according to the spokesperson.
     Those shutdowns, which were announced last year, reflect the company’s exit
     from testing for reproductive health and somatic tumors. A facility in
     Gaithersburg will serve as the company’s primary lab.

     As a result of the restructuring, the company also announced last year two rounds
     of layoffs, affecting a total about 700 employees — with those positions largely
     based in Connecticut. The company now has about 1,100 employees.

     Alongside the name change, GeneDx’s shares of Class A common stock will trade
     under a new ticker symbol, “WGS,” which recognizes the company’s role in
     “pioneering” whole genome sequencing. The company expects its shares of Class
     A common stock to start trading Tuesday on the NASDAQ Stock Market under the
     new name and ticker symbol.

     Also Monday, the company disclosed preliminary results for the past year and some
     projections about its performance. It expects its “pro forma” 2022 revenues to
     increase about 37 to 40 percent year over year, to between $170 million and $173
     million. Those numbers exclude returns from reproductive health and somatic
     tumor testing.



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        The company expects further revenue growth in 2023, while it aims to turn
        profitable in 2025. For the first nine months of 2022, it sustained a loss of
        about
        $240 million.

        Following Monday’s announcements, the company’s shares closed for the day at
        $0.31, a 27 percent jump from last Friday. But its share price has declined
        precipitously in recent months, as it was worth about 15 times its current value
        at this point a year ago.

        V.    As a result of the plunge, the company was informed on Dec. 28 by
        Nasdaq that, based on the closing bid price of its Class A common stock for the
        past 30 trading days, it no longer complied with the required minimum bid price
        of $1 per share for continued listing on the Global Select Market.

        The notice had no immediate effect because the company was given an initial
        compliance period of 180 days. To regain compliance, the closing bid price of
        the Class A common stock must reach at least $1 per share for a minimum of 10
        consecutive trading days before June 26.

      The Misrepresentations Concerned Sema4’s Core Operations

       78.     The misrepresentations at issue concerned Sema4’s core operations. The

Company’s core business was its diagnostic testing—for example, in 2021, 76% of the Company’s

revenue was generated by reimbursement from health plans for its diagnostic testing. However,

the Individual Defendants touted the Company’s expansion beyond diagnostic testing into data

platforms, namely, its core information platform called Centrellis as a major driver of the

Company’s ongoing success.

       79.     Sema4’s diagnostic testing business was dependent on the extent that payors would

reimburse patients for the Company’s diagnostic tests—indeed, as stated in the Company’s 2021

Form 10-K:

             Sales of our products and services will therefore depend substantially on
             the extent to which the costs of our products and services will be paid by
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              third- party payors …. Our ability to increase the number of billable tests
              and our revenue therefrom will depend on our success in achieving
              reimbursement for our tests from third-party payors.

        80.     During 2021, reimbursement from health plans represented 79% and 76% of the

Company’s diagnostic test revenue and total revenue, respectively. In 2021, two health plans each

represented 10% or more of the Company’s total revenue. The Company’s ability to increase test

volumes, ASPs and the Company’s overall success was dependent on receiving adequate

reimbursement for its tests. And to achieve adequate reimbursement for its tests, the Company

needed to become in network with as many major payors as possible because otherwise, patients

would be far less likely to order testing if their insurance was not going to provide coverage for

the costs of testing and physicians would be less likely to recommend the Company’s products or

services to patients.

        81.     The Company also stood to enter a lucrative agreement with GeneDx upon raising

sufficient capital to finance the acquisition, which defendants represented to investors would

markedly increase the Company’s total revenues and would enhance the Company’s business

opportunities and profitability, particularly with respect to Centrellis. For example, on the

Company’s Q4 2021 public conference call on March 14, 2022, defendant Schadt stated,

              Building upon the success that has propelled Sema4, we recently
              announced our plans to acquire GeneDx, a world leader in the delivery
              of clinical genomic solutions for rare disorders. The acquisition of
              GeneDx will transform Sema4 into a larger and stronger company with a
              faster path to profitability …. [W]e project that the combined company
              will deliver annual revenue of approximately $350 million in 2022 ….
              This transaction will significantly enhance the power of our Centrellis
              database by adding more than 2.1 million expertly curated phenotypes
              and well over 300,000 clinical exomes that GeneDx has generated to date.
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             Following the close of the acquisition, Sema4 will have the most
             comprehensive clinically relevant data set available for our research and
             development purposes.

       82.     That the Individual Defendants were at all relevant times, high-ranking executives

and officers of the Company who were involved in the Company’s day-to-day operations,

demonstrates their knowledge of the falsity of the misrepresentations. Defendant Schadt, as

founder, CEO and then co-CEO of the Company until August 15, 2022, undoubtedly knew and

had access to material adverse information. Indeed, as the Company indicated in its 2021 Form

10-K, “[t]he Company operates and manages its business as one reportable operating segment

based on how the Chief Executive Officer (Schadt), who is the Company’s chief operating decision

maker (“CODM”), assess performance and allocates resources across the business.” Defendant

Schadt signed and certified pursuant to the Sarbanes-Oxley Act of 2002 the Company’s 2021 Form

10-K, filed with the SEC on March 14, 2022. Defendant Schadt also signed the Company’s

registration statement filed on Form S-1 with the SEC on May 3, 2022.

       83.     Defendant Ro, who served as the Company’s CFO until June 14, 2022, also signed

and certified the Company’s SEC filings pursuant to the Sarbanes-Oxley Act of 2002, including

the Company’s 2021 Form 10-K and the Company’s Form 10-Q filed with the SEC on May 12,

2022. Defendant Ro also signed the Company’s registration statement filed on Form S-1 with the

SEC on May 3, 2022.

       84.     As part of its acquisition of GeneDx from Opko Health, Sema4 named former

GeneDx President and CEO Katherine Stueland as its new CEO in May 2022. Defendant Stueland

replaced Sema4 Founder defendant Schadt, who became president and chief R&D officer. This
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represents a change from previously announced plans for defendants Stueland and Schadt to share

the CEO role. Additionally, in the Company’s June 14, 2022 press release, Sema4 announced that

effective immediately, defendant Miao, who previously served as Sema4’s Deputy CFO, would

serve as Interim CFO while the Company conducted a search for a permanent CFO. The Company

indicated in the press release that “Mr. Miao has more than 18 years of experience in Corporate

Finance across multiple growth industries and will report directly to Ms. Stueland in his interim

role.”

         85.    Defendant Stueland signed and certified the Company’s Class Period SEC filings

pursuant to the Sarbanes-Oxley Act of 2002, including the Company’s Form 10-Q filed with the

SEC on May 12, 2022 and the Company’s Form 10-Q filed with the SEC on August 15, 2022.

Defendant Stueland also signed the Company’s registration statement filed on Form S-1 with the

SEC on May 3, 2022.

         86.    Defendant Miao signed and certified the Company’s Class Period SEC filings

pursuant to the Sarbanes-Oxley Act of 2002, including the Company’s Form 10-Q filed with the

SEC on August 15, 2022.

         Sema4’s History Of Material Weaknesses In Financial Reporting
         87.    The Company also had a history of material weaknesses in its internal controls. For

example, as stated in the Company’s 2021 Form 10-K, the Company identified material

weaknesses in its internal control over financial reporting as of December 31, 2020, which had not

been fully remediated as of December 31, 2021. Further, “during 2021, management identified a

misclassification related to certain costs included within cost of services for the years ended

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December 31, 2021, 2020 and 2019.” The material weaknesses management identified included

the following:

   •   We did not design and maintain accounting policies, processes and controls to
       analyze, account for and report our revenue arrangements in accordance with ASC
       606, Revenue from Contracts with Customers, and ASC 605, Revenue Recognition.

   •   We did not design and maintain formal accounting policies, procedures and controls
       to achieve complete, accurate and timely financial accounting, reporting and
       disclosures, including controls over the preparation and review of account
       reconciliations and journal entries; the accounting for cost capitalization policies in
       accordance with ASC 330, Inventory, and ASC 350-40, Intangibles—Goodwill and
       Other— Internal-Use Software; and the application of ASC 840, Leases.

   •   We had not developed and effectively communicated to our employees our
       accounting policies and procedures, which resulted in inconsistent practices. Since
       these entity level programs have a pervasive effect across the organization,
       management has determined that these circumstances constitute a material
       weakness.

   •   Our accounting and operating systems lacked controls over access, and program
       change management that are needed to ensure access to financial data is adequately
       restricted to appropriate personnel.

   •   We do not have sufficient, qualified finance and accounting staff with the
       appropriate U.S. GAAP technical accounting expertise to identify, evaluate and
       account for accounting and financial reporting, and effectively design and
       implement systems and processes that allow for the timely production of accurate
       financial information in accordance with internal financial reporting timelines,
       commensurate with our size and the nature and complexity of our operations. As a
       result, we did not design and maintain formal accounting policies, processes and
       controls related to complex transactions necessary for an effective financial
       reporting process.


       88.       In connection with these material weaknesses in internal control over financial

reporting, the Company had to restate its annual 2020 and 2019 financial statements to correct

misstatements pertaining to the misclassification of certain expenses related to the genetic
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counseling department reported in cost of services that should have been reported in selling and

marketing in the prior period financial statements.

       89.     Additionally, the Company restated 2021 and 2020 interim financial statements.

The Company identified quarterly out of period adjustments generally related to recognition of

cost of services in the quarterly periods ended March 31, 2021, June 30, 2021 and September 30,

2021. The adjustments also affected certain current asset and liability accounts previously reported

in the condensed balance sheets as of March 31, 2021 and June 30, 2021 and condensed

consolidated balance sheets as of September 30, 2021.

       Harm to the Company

       90.     As a direct and proximate result of the Individual Defendants’ misconduct, Sema4

has lost and expended, and will lose and expend, millions of dollars.

       91.     Such expenditures include, but are not limited to, legal fees associated with the

Securities Action filed against the Company and its executives, and amounts paid to outside

lawyers, accountants, and investigators in connection thereto.

       92.     Such expenditures also include, but are not limited to, the cost of implementing

measures to remediate the material weaknesses in the Company’s internal control over financial

reporting.

       93.     Such losses also include, but are not limited to, significant compensation and

benefits paid to the Individual Defendants who breached their fiduciary duties to the Company,

including bonuses tied to the Company’s attainment of certain objectives, and benefits paid to the

Individual Defendants who breached their fiduciary duties to the Company.
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        94.    As a direct and proximate result of the Individual Defendants’ conduct, Sema4 has

also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

that will plague the Company’s stock in the future due to the Company’s misrepresentations and

the Individual Defendants’ breaches of fiduciary duties and unjust enrichment.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

        95.    Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of the

breaches of fiduciary duties by the Individual Defendants.

        96.    Sema4 is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would otherwise not have.

        97.    Plaintiff is an owner of GeneDx, formerly Sema4, common stock and has been a

continuous shareholder of Company stock at all relevant times.

        98.    Plaintiff will adequately and fairly represent the interests of the Company in

enforcing and prosecuting its rights and retained counsel competent and experienced in derivative

litigation.

        99.    A pre-suit demand on the Board of Sema4 is futile and, therefore, excused. At the

time this action was commenced, the seven-member Board consisted of Director Defendants

Stueland, Ryan, Casdin, Leproust, Meister, and Ruch and non-defendant Richard Pfenninger, Jr.

As set forth below, six of the seven members of the current Board are incapable of making an

independent and disinterested decision to institute and vigorously prosecute this action because

they face a substantial likelihood of liability for misconduct alleged herein. Therefore, demand on
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the Board to institute this action is not necessary because such a demand would have been a futile

and useless act.

        100.    The Director Defendants either knew, or should have known, of the materially false

and misleading statements that were issued on the Company’s behalf and took no steps in a good

faith effort to prevent or remedy that situation.

        101.    Each of the Director Defendants approved and/or permitted the wrongs alleged

herein to have occurred and participated in efforts to conceal or disguise those wrongs from the

Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs

complained of herein and are therefore not disinterested parties.

        102.    Each of the Director Defendants authorized and/or permitted false statements to be

disseminated directly to the public and made available and distributed to shareholders, authorized

and/or permitted the issuance of various false and misleading statements, and are principal

beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully prosecute such

a suit even if they instituted it.

        103.    Director Defendants Ryan, Casdin, Leproust, Meister, and Ruch signed the 2021

10-K.

        104.    Additionally, the Director Defendants received payments, benefits, stock options,

and other emoluments by virtue of their membership on the Board and their control of the

Company.

        105.    Moreover, the Director Defendants willfully ignored, or recklessly failed to inform

themselves of, the obvious problems with the Company’s internal controls, practices, and
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procedures and failed to make a good faith effort to correct the problems or prevent their

recurrence.

        106.    Additionally, the Director Defendants took no action to redress the harm suffered

by the Company resulting from the misconduct alleged herein.

        107.    Defendants Leproust and Meister (the “Audit Committee Defendants”) serve on the

Company’s Audit Committee and, pursuant to the Audit Committee Charter, were specifically

charged with the responsibility to assist the Board in fulfilling its oversight responsibilities related

to, inter alia, financial accounting and reporting, the underlying internal controls and procedures

over financial reporting, and audits of the financial statements. At all relevant times, however, the

Audit Committee Defendants breached their fiduciary duty to the Company by failing to prevent,

correct, or inform the Board of the issuance of material misstatements and omissions regarding the

Company’s business, finances, and operations as alleged above. Therefore, the Audit Committee

Defendants cannot independently consider any demand to sue themselves for breaching their

fiduciary duties to the Company, as that would expose them to substantial liability and threaten

their livelihoods.

        108.    The Director Defendants, as members of the Board, were and are subject to the

Company’s Code of Conduct. The Code of Conduct goes well beyond the basic fiduciary duties

required by applicable laws, rules, and regulations, requiring the Director Defendants to also

adhere to the Company’s standards of business conduct. The Director Defendants violated the

Code of Conduct because they knowingly or recklessly participated in making and/or causing the

Company to make the materially false and misleading statements alleged herein. Because the
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Director Defendants violated the Code of Conduct, they face a substantial likelihood of liability

for breaching their fiduciary duties, and therefore demand upon them is futile.

       109.    In addition, defendant Stueland has been named as a defendant in the Securities

Action and, therefore, faces a substantial likelihood of liability for issuing and/or authorizing the

issuance of the same materially false and misleading statements at issue in this action. Defendant

Stueland, therefore, cannot exercise independent business judgment regarding allegations that

arise from the same misconduct alleged here and in the Securities Action. Thus, any demand upon

defendant Stueland would be futile.

       110.    Moreover, the Director Defendants have taken no remedial action to redress the

conduct alleged herein.

                                            COUNT I

                 Against The Individual Defendants For Violations of § 10(b)
                            of the Exchange Act and Rule 10b-5

       111.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       112.    The Individual Defendants violated § 10(b) of the Exchange Act, 15 U.S.C. §

78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

       113.    The Individual Defendants, individually and in concert, directly or indirectly,

disseminated or approved the false statements specified above, which they knew or deliberately

disregarded were misleading in that they contained misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances under


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which they were made, not misleading.

       114.    The Individual Defendants violated §10(b) of the Exchange Act and Rule 10b-5 in

that they: (i) employed devices, schemes and artifices to defraud; (ii) made untrue statements of

material facts or omitted to state material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading; or (iii) engaged in acts,

practices and a course of business that operated as a fraud or deceit upon stockholders.

       115.    The Individual Defendants acted with scienter because they (i) knew that the public

documents and statements issued or disseminated in the name of Sema4 were materially false and

misleading; (ii) knew that such statements or documents would be issued or disseminated to the

investing public; and (iii) knowingly and substantially participated or acquiesced in the issuance

or dissemination of such statements or documents as primary violations of the securities laws.

       116.    The Individual Defendants, by virtue of their receipt of information reflecting the

true facts of Sema4, their control over, and/or receipt and/or modification of Sema4’s allegedly

materially misleading statements, and/or their associations with the Company which made them

privy to confidential proprietary information concerning Sema4, participated in the fraudulent

scheme alleged herein.

       117.    As a result of the foregoing, the market price of Sema4 common stock was

artificially inflated. In ignorance of the falsity of the statements, stockholders relied on the

statements described above and/or the integrity of the market price of Sema4 common stock in

purchasing Sema4 common stock at prices that were artificially inflated as a result of these false

and misleading statements and was damaged thereby.
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       118.    In addition, as a result of the wrongful conduct alleged herein, the Company has

suffered significant damages, including the costs and expenses incurred in defending itself in the

Securities Action and reputational harm. The Individual Defendants, through their violation of

Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, have caused Sema4 to

expend significant defense costs and exposed the Company to millions of dollars in potential class-

wide damages in the Securities Action.

                                            COUNT II

                              Against The Individual Defendants
                                For Breach Of Fiduciary Duty

       119.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       120.    The Individual Defendants owe the Company fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed the Company the highest obligation

of good faith, candor, loyalty, and due care.

       121.    The Individual Defendants willfully ignored the obvious deficiencies in the

Company’s internal controls, practices, and procedures and failed to make a good faith effort to

correct the problems or prevent their recurrence.

       122.    The Individual Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties. Among other things, the Individual Defendants breached their

fiduciary duties of loyalty and good faith by permitting the use of inadequate practices and

procedures to guide the truthful dissemination of Company news to the investing public and to the


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Company’s shareholders, allowing or permitting false and misleading statements to be

disseminated in the Company’s SEC filings and other disclosures and, otherwise failing to ensure

that adequate internal controls were in place regarding the serious business reporting issues and

deficiencies described above. These actions could not have been a good faith exercise of prudent

business judgment to protect and promote the Company’s corporate interests.

       123.    As a direct and proximate result of the Individual Defendants’ failure to fulfill their

fiduciary obligations, the Company has sustained significant damages.

       124.    As a result of the misconduct alleged herein, the Individual Defendants are liable

to the Company. As a direct and proximate result of the Individual Defendants’ breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs incurred in defending itself

in the Securities Action, exposing the Company to millions of dollars in potential class-wide

damages in the Securities Action, and damage to the share price of the Company’s stock, resulting

in an increased cost of capital, and reputational harm.

       125.    Plaintiff, on behalf of Sema4, has no adequate remedy at law.

                                           COUNT III

                      Against The Individual Defendants for Aiding and
                             Abetting Breach of Fiduciary Duty

       126.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       127.    By encouraging and accomplishing the illegal and improper transactions alleged


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herein and concealing them from the public, the Individual Defendants have each encouraged,

facilitated, and advanced their breach of their fiduciary duties. In so doing, the Individual

Defendants have each aided and abetted, conspired, and schemed with one another to breach their

fiduciary duties, waste the Company’s corporate assets, and engage in the ultra vires and illegal

conduct complained of herein.

       128.    Plaintiff on behalf of Sema4 has no adequate remedy at law.

                                           COUNT IV

                  Against The Individual Defendants for Unjust Enrichment

       129.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       130.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, Sema4.

       131.    The Individual Defendants either benefitted financially from the improper conduct,

or received bonuses, stock options, or similar compensation from Sema4 that was tied to the

performance or artificially inflated valuation of Sema4 or received compensation that was unjust

in light of the Individual Defendants’ bad faith conduct.

       132.    Plaintiff, as a shareholder and a representative of Sema4, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, benefits and other

compensation procured by the Individual Defendants due to their wrongful conduct and breach of

their fiduciary and contractual duties.

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       133.    Plaintiff on behalf of Sema4 has no adequate remedy at law.

                                             COUNT V

              Against The Individual Defendants For Waste Of Corporate Assets

       134.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       135.    The Individual Defendants breached their fiduciary duties by failing to properly

supervise and monitor the adequacy of the Company’s internal controls, by issuing, causing the

issuance of, and/or failing to correct the false and misleading statements identified herein, and by

allowing the Company to engage in an illegal, unethical, and improper course of conduct, which

was continuous, connected, and ongoing at all relevant times.

       136.    As a result of the misconduct described above, the Individual Defendants wasted

corporate assets by, inter alia: (a) paying and collecting excessive compensation and bonuses; and

(b) incurring potentially millions of dollars of legal liability and/or legal costs, including defending

the Company and its officers against the Securities Action.

       137.    As a result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

       138.    Plaintiff on behalf Sema4 has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of Sema4 and

that Plaintiff is a proper and adequate representative of the Company;

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       B.      Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties and unjust enrichment;

       C.      Directing Sema4 to take all necessary actions to reform and improve its corporate

governance and internal procedures to protect Sema4 and its stockholders from a repeat of the

damaging events described herein, including, but not limited to:

                      strengthening the Board’s supervision of operations and compliance with

                       applicable state and federal laws and regulations;

                      strengthening the Company’s internal reporting and financial disclosure

                       controls;

                      developing and implementing procedures for greater shareholder input into

                       the policies and guidelines of the Board; and

                      strengthening the Company’s internal operational control functions;

       C.      Awarding punitive damages;

       D.      Awarding costs and disbursements of this action, including reasonable attorneys’

fees, accountants’ and experts’ fees, costs, and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.




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                                     JURY DEMAND

     Plaintiff hereby demands a trial by jury.




Dated: November 28, 2023                          RIGRODSKY LAW, P.A.

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